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                            U N ITED STATE S D ISTRIC T C O UR T
                            SQUTHERN DISTRICT OF FLORIDA
                                  Case N o.:1:21-cv-20929-JB


LINET D.FERRER,for herself and on behalf of
otherssimilarly sltuated,
       Plaintiftl


T K PR OM OTIO N S, INC. d/b/a BT'S
G EN TLEM EN 'S CLU B, G REG G BER GER,
individually,

       D efendants.


                                  JU RY V ERD ICT FO R M

       1. Doyou find from apreponderance oftheevidencethatLINET D .FERRER worked asan
          exoticdanceratTK Promotions,lnc,d/b/aBT'sGentlemen'sClub?

                      YES

                      NO

              IftheanswerisYES,proceedtoanswerQuestionNo.2.IftheanswerisNO,proceedto
              havetheforeperson sign the Jury VerdictForm,you do nothaveto answerany other
              question.

       2. IsLINET D.FERRER owed minimum wages?
                b/ vss
                      xo

              IftheanswerisYES,proceedtoanswerQuestionNo.3.
              lftheanswerisNO,proceedtoQuestionNo.4.




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     3. Did TK Promotions,Inc,d/b/aBT'sGentlem en'sClub orGREG BERGER,know orshow
        recldessdisregard forwhethertheirconductwasprohibited by theFLSA ortheFM W A 'S
        m inimum wagerequirements?
               X YES
                 No

           IfYES,you willneed to determ ine minimum wage dam agesfiveyearsfrom thedateshe
           tued suit,the time frnme from M arch 10,2016 to July 17,2018. LINET FERRER
           should beawazded unpaid minimum wagesin the nmountof:$ -
                                                                  3 é$p t?-.
                                                                           G&                 .
           continuetoQuestion 4.
           IfNO,you willneed to determinem inimum wage dnm agesfouryearsfrom thedate she
           filed suit,the tim e fram e being back to M arch 10,2017 to July 17,2018. LINET
           FERRER should be awarded unpaid m inim um w ages in the am ount of:
           $                    .ContinuetoQuestion4.
     4. lsLINET D .FERM R owed overtime wages?
              f
            xz Y Es

                 NO

           IfYES,proceedtoanswerQuestionNo.5.
           IfNO,proceed to havetheforeperson sign the Jury VerdictForm ,you donothaveto
           answerany otherquestion.

     5. D id TK Prom otions,Inc,d/b/a BT 's Gentlem en's Club orG REG BER GER ,know orshow
        reclcless disregard forwhethertheirconductwasprohibited by the FLSA orthe FM W A 'S
        overtim e w age requirem ents?
               J WS
                 NO

           lfY ES,you w illhave to determ ine overtim e dam ages 9om M arch 9,2018 untilJuly 17,
           2018.LIN ET FER RER should be aw arded unpaid m inim um w ages in the am ount of:
           $              .Proceedto havetheForeperson sign theVerdictForm
           IfN O ,proceed to have the Foreperson sigrfthe V erdictForm .
                                               ,
                                                   S --                    T                       '
                                                                                                   ''

SO SAY W E ALL.                                                                                    /
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